Case 1:17-cv-00116-LMB-TCB Document 58 Filed 02/08/17 Page 1 of 3 PageID# 411



                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTR ICT OF VIRGINIA
                            ALEXANDRIA DIVISION

The Commonwealth of Virginia, Osman
Nasreldin, and Sahar Kamal Ahmed Fadul,

               Intervenor-Petitioners,

       v.
                                                   Case 1:17-cv-00116-LMB-TCB
Donald Trump, the U.S. Department of
Homeland Security, U.S. Customs and
Border Protection, John Kelly, Kevin K.
McAleenan, and Wayne Biondi,

               Respondents.

 CONSENT MOTION OF THE ANTI-DEFAMATION LEAGUE FOR LEAVE
   TO FILE AMICUS-CURIAE BRIEF IN SUPPORT OF INTERVENOR-
                       PETITIONERS

       The Anti-Defamation League respectfully requests leave to file an amicus-curiae brief in

support of the challenge of Commonwealth of Virginia and other intervenor-petitioners to

Executive Order 13,769, 82 Fed. Reg. 8977 (Feb. 1, 2017), which purported to “Protect[] the

Nation From Foreign Terrorist Entry Into the United States.” ADL sought and has received

consent from the parties to its motion. Accordingly, ADL waives a hearing on its motion. A

proposed order is attached as Exhibit 1, and ADL’s proposed amicus-curiae brief is attached as

Exhibit 2.

       ADL is a civil-rights and human-relations organization founded in 1913 to stop the

defamation of Jewish people and to secure justice and fair treatment for all. Through its twenty-

six regional offices throughout the United States, ADL provides materials, programs, and

services to combat anti-Semitism and all forms of bigotry. As explained in the concurrently filed

brief in support, because of its long-standing dedication to fighting discrimination, including
Case 1:17-cv-00116-LMB-TCB Document 58 Filed 02/08/17 Page 2 of 3 PageID# 412



with respect to immigrants and religious minorities, ADL can provide unique and important

perspective for this Court’s disposition of this case. And, as noted, all parties have consented to

ADL’s appearance as an amicus.

       Accordingly, ADL respectfully requests the Court to grant it leave to appear as an amicus

and allow the filing of ADL’s amicus-curiae brief.

Dated: February 8, 2017                               Respectfully submitted,

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                                                  2
Case 1:17-cv-00116-LMB-TCB Document 58 Filed 02/08/17 Page 3 of 3 PageID# 413



                               CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2017, I electronically filed the foregoing Consent

Motion of the Anti-Defamation League for Leave To File Amicus-Curiae Brief in Support

of Intervenor-Petitioners with the Clerk of Court using the ECF system, which will send

notification of such filing to all ECF participants.


                                                                     /s/
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